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                                 ATTACHMENT A

                                       ACCOUNTS

ALL ASSETS HELD IN THE FOLLOWING ACCOUNTS AND ALL INTEREST, BENEFITS,
OR ASSETS TRACEABLE THERETO:

1.     Moneybookers account; moneybookers@megaupload.com (account #4964059) with a
       current approximate balance of €67,545.85;

2.     HSBC Bank Australia Limited bank account #11192937118 AUD (Premier account),
       #094491560087 AUD (Serious Saver account) and #002950681116 all in the name of
       Mathias Ortmann;

3.     PayPal, Inc., account of Megaupload: paypal@megaupload.com (account
       #2094224549064053152);

4.     PayPal, Inc.,account of Sven Echtemach: sven@sectravel.com (account
       #2060399461350034133); sven@sven.com (account #1499651333470212642); and
       paypal@sectravel.cora (account #1733378795810505763);

5.     PayPal, Inc., account of Kim Dotcom: kim@ultimaterally.com;
6.     PayPal, Inc., account of Bram vander Kolk: bramos@bramos.nl;
7.     $31,231.67 seized from Citibank, N.A. account number 3200643053 in the name of
       Megacard, Inc.;

8.     $14,972.57 seized from Citibank, N.A. account number 3200643066 in the name of
       Megasite, Inc.

9.     60 Servers Purchased from Leaseweb described as follows:

     1. 1 DELL SERVER ID 39544, Serial Number: BP 1365J
     2. 1 DELL SERVER ID 39534, Serial Number: GQ1365J
     3. 1 DELL SERVER ID 39545, Serial Number: FQ1365J
     4. 1 DELL SERVER ID 39536, Serial Number: 7R1365J
     5. 1 DELL SERVER ID 39515, Serial Number: 4Q1365J
     6. 1 DELL SERVER ID 39565, Serial Number: 8J1365J
     7. 1 DELL SERVER ID 39513, Serial Number: 2R1365J
     8. 1 DELL SERVER ID 39548, Serial Number: 2K1365J
     9. 1 DELL SERVER ID 39543,Serial Number: HP1365J
     10.1 DELL SERVER ID 39540, Serial Number: 9R1365J
     11.1 DELL SERVER ID 39542, Serial Number: 3P1365J
     12. 1 DELL SERVER ID 39550, Serial Number: BJ1365J
     13. 1 DELL SERVER ID 39541, Serial Number: 5R1365J
     14.1 DELL SERVER ID 39508, Serial Number: 3R1365J
     15. 1 DELL SERVER ID 39507, Serial Number: HQ1365J


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  16.1 DELL SERVER ID 39525, Serial Number: 5Q1365J
  17.1 DELL SERVER ID 39535, Serial Number: 2Q1365J
  18. 1 DELL SERVER ID 39566, Serial Number: 3K1365J
  19.1 DELL SERVER ID 39559, Serial Number: DJ1365J
  20.1 DELL SERVER ID 39516, Serial Number: 4R1365J
  21. 1 DELL SERVER ID 39549, Serial Number: 7J1365J
  22. 1 DELL SERVER ID 39527, Serial Number: 6P1365J
  23. 1 DELL SERVER ID 39526, Serial Number: 7P1365J
  24. 1 DELL SERVER ID 39564, Serial Number: 4J1365J
  25. 1 DELL SERVER ID 39558, Serial Number: OJ1365J
  26. 1 DELL SERVER ID 39546, Serial Number: 5P1365J
  27. 1 DELL SERVER ID 39514, Serial Number: 4P1365J
  28.1 DELL SERVER ID 39557, Serial Number: 4K1365J
  29. 1 DELL SERVER ID 39551, Serial Number: 9J1365J
  30.1 DELL SERVER ID 39506, Serial Number: 9P1365J
  31.1 DELL SERVER ID 39510, Serial Number: 8Q1365J
  32. 1 DELL SERVER ID 39562, Serial Number: HJ1365J
  33. 1 DELL SERVER ID 39553, Serial Number: 6J1365J
  34. 1 DELL SERVER ID 39537, Serial Number: BQ1365J
  35. 1 DELL SERVER ID 39533, Serial Number: DP1365J
  36.1 DELL SERVER ID 39517, Serial Number: 1R1365J
  37.1 DELL SERVER ID 39522, Serial Number: J91365J
  38.1 DELL SERVER ID 39529, Serial Number: 3Q1365J
  39.1 DELL SERVER ID 39538, Serial Number: 2P1365J
  40.1 DELL SERVER ID 39560, Serial Number: JJ1365J
  41. 1 DELL SERVER ID 39512, Serial Number: CP1365J
  42. 1 DELL SERVER ID 39547, Serial Number: 5J1365J
  43. 1 DELL SERVER ID 39509, Serial Number: FP1365J
  44. 1 DELL SERVER ID 39521, Serial Number: DQ1365J
  45. 1 DELL SERVER ID 39539, Serial Number: 3Q1365J
  46.1 DELL SERVER ID 39556, Serial Number: FJ1365J
  47.1 DELL SERVER ID 39563, Serial Number: 6K1365J
  48. 1 DELL SERVER ID 39532, Serial Number: 7Q1365J
  49. 1 DELL SERVER ID 39511, Serial Number: JQ1365J
  50. 1 DELL SERVER ID 39520, Serial Number: 8R1365J
  51. 1 DELL SERVER ID 39554, Serial Number: CJ1365J
  52. 1 DELL SERVER ID 39524, Serial Number: 9K1365J
  53.1 DELL SERVER ID 39528, Serial Number: GP1365J
  54.1 DELL SERVER ID 39561, Serial Number: 5K1365J
  55. 1 DELL SERVER ID 39552, Serial Number: 1K1365J
  56. 1 DELL SERVER ID 39518, Serial Number: 1Q1365J
  57. 1 DELL SERVER ID 39519, Serial Number: 6R1365J
  58. 1 DELL SERVER ID 39555, Serial Number: 7K1365J
  59. 1 DELL SERVER ID 39523, Serial Number: 8P1365J
  60. 1 DELL SERVER ID 39530, Serial Number: 6Q1365J




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  10. The following domain names: Megastuff.co; Megaworld.com; Megaclicks.co;
      Megastuff.info; Megaclicks.org; Megaworld.mobi; Megastuflf.org; Megaclick.us;
      Megaclick.com; HDmegapom.com; Megavkdeo.com; Megaupload.com;
      Megaupload.org; Megarotic.com; Mageclick.com; Megavideo.com;
     Megavideoclips.com; Megapom.com.




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